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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

In re:                                                      ) Chapter 11
                                                            )



W. R. GRACE & CO., et al.’                                  ) Case No. 01-01139 (IKF)
                                                            ) (Jointly Administered)
                             Debtors.                       )
                                                            ) Hearing Date: September 26, 2011, at 9:00 a.m.
                                                               Objection Deadline: September 9, 2011 at 4:00 p.m.

         NOTICE OF MOTION FOR ENTRY OF AN ORDER PROVIDING FOR THE
           RETURN OF CERTAIN PLEADINGS AND AN ORDER FILED UNDER
                 SEAL TO DEBTORS’ COUNSEL FOR DESTRUCTION

TO: Parties required to receive notice pursuant to Del. Bankr. LR 2001-1.

           The above-captioned debtors and debtors-in-possession (collectively, the "Debtors") filed

the attached Motion for Entry of an Order Providing for the Return of Certain Pleadings and an

Order Filed Under Seal to Debtors’ Counsel for Destruction (the "Motion") with the United

States Bankruptcy Court for the District of Delaware, 824 Market Street, Wilmington, Delaware

19801 (the "Bankruptcy Court"). A true and correct copy of the Motion is attached hereto.

     The Debtors consist of the following 62 entities: W. R. Grace & Co. (f7k/a Grace Specialty Chemicals, Inc.), W.
     R. Grace & Co.-Conn., A-i Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
     Inc., CB Biomedical, Inc. (f/kla Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
     Creative Food N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
     (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a
     Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/Ida Grace Cocoa Management, Inc.), GEC
     Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
     Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
     Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
     Inc., Grace H-U Inc., Grace H-U II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
     (fYk/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
     Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
     R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
     Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
     Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
     Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
     Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/ida Nestor-BNA, Inc.), MRA
     Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
     Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
     Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (fYkla Cross Country
     Staffing), Hayden-Gulch West Coal Company, and H-U Coal Company.




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            Responses to the relief requested in the Motion, if any, must be in writing and be filed

with the Bankruptcy Court no later than 4:00 p.m. (prevailing Eastern time) on September 9,

2011. At the same time, you must also serve a copy of the objections or responses, if any, upon

the following: (i) co-counsel for the Debtors, Adam Paul, Kirkland & Ellis LLP, 300 N. LaSalle,

Chicago, IL 60654 (fax 312-862-2200), Janet S. Baer, Baer Higgins Fruchtman LLC, 111 East

Wacker Drive, Suite 2800, Chicago, IL 60601 (fax 312-577-0737), and James B. O’Neill,

Pachulski Stang Ziehi & Jones LLP, 919 North Market Street, 17th Floor, P.O. Box                8705,

Wilmington, DE 19899-8705 (Courier 19801) (fax 302-652-4400); (ii) counsel to the Official

Committee of Unsecured Creditors, Lewis Kruger, Stroock & Stroock & Lavan, 180 Maiden

Lane, New York, NY 10038-4982 (fax 212-806-6006), and Michael R. Lastowski, Duane,

Morris & Heckscher, LLP, 1100 N. Market Street, Suite 1200, Wilmington, DE 19801-1246

(fax 302-657-4901); (iii) counsel to the Official Committee of Asbestos Property Damage

Claimants, Scott L. Baena, Bilzin, Sumberg, Baena, Price & Axelrod, 1450 Brickell Avenue,

Suite 2300, Miami, FL 33131 (fax 305-374-7593), and Michael B. Joseph, Ferry & Joseph,

P.A., 824 Market Street, Suite 904, P.O. Box 1351, Wilmington, DE 19899 (fax 302-575-1714);

(iv) counsel to the Official Committee of Asbestos Personal Injury Claimants, Elihu Inselbuch,

Caplin & Drysdale, Chartered, 375 Park Avenue, 35th Floor, New York, NY 10152-3500 (fax

212-644-6755), and Marla Eskin, Campbell & Levine, LLC, 800 N. King Street, Suite 300,

Wilmington, DE 19801 (fax 302-426-9947); (v) counsel to the Official Committee of Equity

Holders, Thomas M. Mayer, Kramer Levin Naftalis & Frankel LLP, 919 Third Avenue, New

York, NY 10022 (fax 212-715-8000), and Teresa K.D. Currier, Saul Ewing LLP, 222 Delaware

Avenue P.O. Box 1266, Wilmington, DE 19899-1397 (fax 302-421-6813); (vi) counsel to the

Asbestos PT Future Claimants’ Representative, Richard H. Wyron, Orrick, Herrington &



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Sutcliffe LLP, 1152 15th Street, NW, Washington, DC 20005 (fax 202-339-8500), and John C.

Phillips, Jr., Phillips, Goldman & Spence, P.A., 1200 North Broom Street, Wilmington, DE

19806 (fax 302-655-4210); (vii) the Office of the United States Trustee, Attn: David Klauder,

844 N. King Street, Wilmington, DE 19801 (fax 302-573-6497); (viii) counsel to the Asbestos

PD Future Claimants’ Representative, Karl Hill, Seitz, Van Ogtrop & Green, P.A., 222 Delaware

Avenue, Suite 1500, P.O. Box 68, Wilmington, DE 19899 (fax 302-888-0606), and Alan B.

Rich, Law Office of Alan B. Rich, Esq., 1201 Elm Street, Suite 4244, Dallas, TX 75270 (fax

214-749-0325); and (ix) counsel to the CNA Companies, Michael S. Giannotto, Goodwin

Procter LLP, 901 New York Avenue, NW, Washington, DC 20001 (fax 202-346-4444).

            IF NO OBJECTIONS ARE TIMELY FILED AND SERVED IN ACCORDANCE

WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE RELIEF

REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

            IN THE EVENT THAT ANY OBJECTION OR RESPONSE IS FILED AND SERVED

IN ACCORDANCE WITH THIS NOTICE, A HEARING ON THE MOTION WILL BE HELD

BEFORE THE HONORABLE JUDITH K. FITZGERALD AT THE UNITED STATES




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  BANKRUPTCY COURT, 824 MARKET STREET, WILMINGTON, DELAWARE 19801,

ON SEPTEMBER 26, 2011, AT 9:00 A.M. PREVAILING EASTERN TIME



Dated: August ) , 2011                        KIRKLAND & ELLIS LLP
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                                              John Donley
                                              300 North LaSalle Street
                                              Chicago, IL 60654
                                              Telephone: (312) 862-2000
                                              Facsimile: (312) 862-2200

                                              and

                                              BAER HIGGINS FRUCHTMAN LLC
                                              Janet S. Baer, P.C.
                                              Roger J. Higgins
                                              111 East Wacker Drive
                                              Suite 2800
                                              Chicago, IL 60601
                                              Telephone: (312) 836-4047

                                              and

                                              PACUDSKI STANG ZIEHL & JONES LLP


                                              Lia DavJbnes (Bar No. 2 6)
                                              James B. O’Neill (Bar
                                              Kathleen P. Mako ski (Bar No 3648)
                                              Timothy P. Cairns (           28)
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                                              P.O. Box 8705
                                              Wilmington, DE 19899-8705
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                                              Facsimile: (302) 652-4400

                                              Co-Counsel for the Debtors and Debtors-in-
                                              Possession




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